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                                   IN THE UNITED STATES
                                  DISTRICT COURT FOR THE
                                DISTRICT OF MASSACHUSETTS




    UNITED STATES OF AMERICA,

                                                          Criminal No. 21-10219-DJC
           vs.

    MACPHERSON OSEMWEGIE




                            ADDENDUM TO
                 DEFENDANT’S SENTENCING MEMORANDUM


      Now comes the Defendant, Macpherson Osemwegie, who submits this

addendum to his Sentencing Memorandum. Specifically, the Defendant draws

the Court’s attention to the August 5, 2022 sentence of Augustine Osemwegie, 22-

cr-10081-RWZ,1 as relevant to the issue of sentencing parity.2

        Augustine, who owned his own car dealership and did not qualify for

court-appointed counsel, was apparently held from the time of his arrest on

August 26, 2021 and received a sentence of time served, with two years of

supervised release (docket #39). According to the plea agreement (docket #30),

his total offense level was 13, and he had no criminal history. In the government’s


1Defense counsel learned of Augustine Osemwegie, who is not named in the PSR as a related case, late on
August 9, 2022.
2The Defendant in this case is not related to Augustine, though they share the same last name. First names
will be used to distinguish between them.


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Sentencing Memorandum (docket #37), it argued for five months of

incarceration, stating that “the government acknowledges that the defendant has

fully (and swiftly) accepted responsibility for his conduct, has no criminal history,

is the primary caregiver for at least one minor child (and three older children),

and otherwise appears to be a productive member of the community.” The

Defendant Augustine filed no Sentencing Memorandum.

       According to the affidavit authored by Special Agent Michael Livingood

(docket #1), Augustine committed bank fraud and wire fraud by laundering

money from romance scams. Augustine did this through a car dealership that he

controlled, whereby he shipped the cars to Nigeria and kept a percentage of the

proceeds as payment. Between 2018 and 2021, he exported 183 at a value of

$1,117,320. In the same time period, he exported 33 vehicles in his own name at a

value of $163,055. The vehicles were paid in cash to Augustine, and there is no

evidence that the receivers of the vehicles in Nigeria ever paid for their cars. An

undercover operative confirmed the scheme, during which Augustine charged

30% for his laundering efforts. In that scheme, Augustine deposited the $10,000

in proceeds from the sale of a used Lexus (the amount remaining after his 30%

cut), and then wired that amount an account designated by the operative. It was

this undercover operation only that served as the basis for the charge against

Augustine, thus limiting his liability to the single transaction.

       The Defendant Macpherson, whose guidelines are admittedly higher,

nevertheless argues that parity would suggest a similar outcome. Macpherson

similarly swiftly accepted responsibility for his conduct pre-indictment. He has



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also otherwise at all times been a productive member of society. And while he is

not the sole caretaker for his two children, they rely on his parenting and

financial resources.

       Although Mapherson does have a criminal history, it is based on a

continued without a finding — a charge that was later dismissed and sealed. In

discussion with the victim of the alleged assault, Megan Uwagbai, she asserts that

she never called the police, never alleged an assault, and states that he in fact

never assaulted her. She describes him as extremely hardworking, and she and

their child are dependent on him, particularly given her diagnosis of Addison’s

disease. She describes him this way:

       The Mac that I know is a very hard-working man. Since I’ve known him he
       has balanced multiple jobs to make ends meet. … Macpherson does
       everything in the world to take care of his two children. He makes sure
       they’re never in need and is so big on being a family man, coming from a
       big family himself. I have the utmost respect for the man that he is and
       how he continues to work hard for his family day and night with no
       excuses. I never have to ask for a helping hand, Mac is always there to
       check in on me, the kids, and my family no matter what. For example, I
       was recently diagnosed with adrenal insufficiency (Addison’s disease), and
       was always extremely fatigued due to this. Mac has stepped up
       tremendously to assist me when I am having hard times. I can barely get
       out of bed on some days and he is always one call away…

       Also driving the guidelines, the financial loss in Macpherson’s case is

much greater, arguably because of the length and type of investigation. But the

overall circumstances suggest the amount of money illegally transferred by

Augustine was at least as much. And perhaps more to the point in terms of

culpability, Augustine had his own car dealership, presenting him with a




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significant source of leadership, power and income, and earned a large sum — 30

percent — for his involvement in the scheme.

      Macpherson had far less and benefitted far less from the scheme than

Augustine. Macpherson did not own a car dealership that raked in more than a

million dollars, but rather worked more than 60 hours a day at minimum wage

jobs such as Standard Parking, and presently with Door Dash and Uber. While

Augustine’s family owned a five bedroom home in Milton in which Augustine

resided, Macpherson at all time lived in a basement apartment.

      Macpherson’s brother Ross, who works in the radiology department at

Boston Medical Center, describes the family’s relative poverty of their childhood

and Macpherson’s dedication to hard work in this way:

       From taking care of us, and his younger siblings while our mom was in the
       market for the most part of the day, struggling to make ends meet.
       Macpherson would prepare lunch as instructed by my mom and even
       make sure he assisted us with completing our school assignments and
       ready for the next day so that our mom didn’t have to bother us after she’s
       had such a strenuous day out in the market. Macpherson is caring,
       dependable, and extremely hardworking. During festive periods like
       Christmas… he would sacrifice the little my mom could provide for
       Christmas outfits so that we got the best of everything while he managed
       his same old clothes year in, year out. …I am the man I am today, because
       God blessed me with a brother like Macpherson who had to play the role
       of a father to his younger siblings like me right from a tender age, while
       my dad had relocated to the United States in search of greener pastures
       for our family….Macpherson would work two jobs at a time, every week.
       When he had some free time from his regular full-time jobs, he would
       work as an uber driver, and door dasher, and help people move to new
       homes to make ends meet and provide for his kids and family.

      Macpherson’s brother Justice, a mental health worker at the Judge

Rotenburg Children’s Center, describes Macpherson’s work ethic and background

this way:



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       My brother MacPherson came to the US a few years before me. Ever since
       we have enjoyed the family reunion and I have been impressed with him
       working with a few organizations, like standard parking,FedEx, corporate
       shuttle, uber/Lyft, and trying to make a good family with his children and
       others amongst him and people in the community. My younger brother
       growing up as a child always try by any means to support the family
       despite being young. He always try to play the role as an elder brother he
       sometimes hawk water and bring back money to support the family. He
       was a very hard-working kid growing up.

      Macpherson’s brother Reeves, a CNA at Beth Israel Hospital, reports:

       Upon arriving in the USA, MacPherson was the first of my siblings to get a
       job and motivated the remaining siblings to work as well too. It was a
       dream come true for him. When I was at a legal age to work, he also
       helped me to get a job with one of the companies he was working with
       called standard parking….Macpherson was so hard working and even had
       to do multiple jobs at times. He is a very motivated person, and we were
       very proud of him. He never gets distracted from working to help pay bills
       and support his family.


      For these reasons, and the reasons cited in the Defendant’s Sentencing

Memorandum, Mr. Osemwegie respectfully asks for parity with Augustine, and

requests that the Court consider Macpherson Osemwegie's almost immediate

admission of guilt, all evidence that he was otherwise a hardworking and

productive citizen of humble means, and a devoted father and caretaker for his

children.

                                         Respectfully Submitted,
                                         MACPHERSON OSEMWEGIE
                                         By his attorney,

                                         /s/ Victoria Kelleher

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                           CERTIFICATE OF SERVICE

       I hereby certify that a true copy of this document was served on all counsel
of record this day, August 10, 2022 via ECF, and with the United States District
Court, District of Massachusetts, 1 Courthouse Way, Boston, 02210.


                                                /s/ Victoria Kelleher


                                                Victoria Kelleher




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